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                                        BUTLER SNOW


                                                      April 2, 2013




VIA EMAIL TRANSMISSION

Anthony Irpino
Irpino Law Firm
216 Magazine Street
New Orleans, Louisiana 70130

        RE:       In re: Ethicon, Inc. Pelvic Repair System, Products Liability Litigation, MDL No.
                  2327

Dear Anthony:

        Please accept this letter in response to Renee Baggett's letter regarding issues with
Ethicon's privilege claims. Based on our conversations, it is my understanding that you are the
point person for Plaintiffs coordinating the privilege issues.

        We reviewed the eight points raised in your letter and respond to each as follows. The
following is a summary of our position on each of the documents and/or issues. We are of
course, happy to discuss these issues with you as part of our ongoing meet and confer, but think
that the following will help facilitate any discussions that may be warranted.

         We note that many of plaintiffs' challenges are based on an incorrect assessment of the
log, re­raise documents that have been previously addressed in connection with prior challenges,
or simply assert that a certain number of lines or pages were redacted without providing any
substantive basis for why such redactions are believed to be improper. We have made a good
faith effort to address all of plaintiffs' challenges here, and will continue to do so going forward.
In exchange, we ask that plaintiffs make efforts to streamline their challenges to take into
account these as we move forward.

1)      Privilege Pre-Trial Order

        You and I have exchanged several drafts of the proposed Privilege Order and I believe
we are very close to an agreement. If you agree to the language that I send last week concerning
Sections 2(c) and 2(d), then I think our only place where we agree to disagree is the introductory
language you want in Section 8. Please let me know if there are any other issues we need to
discuss with respect to this order.

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2)      Vague Privilege Descriptions

         Plaintiffs claim that the information contained in the "Privilege Narrative" section of the
log is too vague. We disagree with that characterization. There are 20 columns of information
provided on the privilege log. Taken together, this information provides enough detail for
plaintiffs to assess the applicability of the privileged material and comports with the Rules and
the spirit of the privilege order we have been discussing. While Defendants are certainly willing
to address specific log entries that plaintiffs may raise that may present unique issues, we do not
believe that the log as whole warrants additional detail. As to the particular example, you raise,
without conceding that the description was deficient. Defendants have agreed to withdraw its
claim of privilege regarding that document in connection with the challenge.

3)      Unidentified or "Redacted" Authors and Recipients

        Plaintiffs challenge the privilege claim on documents for which no author and/or
recipient is identified on the privilege log, or for which the author or recipient is listed on the
privilege log as "[Redacted]." There are several reasons why an author and/or recipient might not
be listed on the privilege log, such as a draft email that does not contain recipients or draft Office
documents that are not attached to emails. Redactions in the "To," "From/Author," "CC" and
"BCC" fields are patient­identifying redactions.

        Of the twelve examples Plaintiffs provided, below is a summary of treatment following
our re­review:

       •       Seven documents are challenged because the privilege log entries do not contain
               an author or recipient. Defendants agree to produce two of these documents and to
               update the author and recipient, based on available information, on one of these
               documents. The remaining four documents will continue to be listed on the
               privilege log as originally produced because the author and recipient relating to
               these documents was proper based on available information, and thus no
               adjustment is required.

       •       The remaining five documents are challenged because the privilege log entries
               contain redactions. That assertion is incorrect. We have confirmed that the
               privilege log entries for these documents do not contain any redactions, and thus
               no adjustment is required. One of these documents is also challenged in section 5
               below.

4)     To, From, CC and Subject Lines

         Defendants have previously agreed to remove email header redactions on a going­
forward basis, including any document identified in Plaintiffs' February 8, 2013, letter. (Note
that in some instances, content in the subject line itself may warrant protection (e.g., patient­
identifying information) and may thus continue to be redacted.) Plaintiffs provided five
examples, two of which are duplicates of documents identified in earlier challenged letters and
for which a response has already been provided. The remaining three are also specifically
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challenged in section 5 below.

5)      Specific Privilege Challenges

       Of the 285 documents that were the listed on Exhibit B of Plaintiffs' February 8, 2013,
below is a summary of treatment following our re­review:

       •       Ten documents are duplicate copies of documents identified in earlier challenge
               letters and for which a response has already been provided.

       •       Sixty documents are challenged because the email header was redacted. Two
               additional documents are challenged because the date/time was redacted.
               Defendants agree to remove these redactions. (See response to #4 above.) In
               addition. Defendants agree to downgrade three of these documents and to modify
               the content redactions in three of these documents. One header challenge was to a
               wholly privileged document. (See next bullet point.)

       •       Four documents were withheld in full. Three of these documents are challenged
               because the privilege log entries do not contain production Bates numbers. When
               a document is withheld in its entirety, there is no corresponding production Bates
               number on the privilege log because the document does not undergo production
               processing. This is standard customary practice to avoid, as much as possible,
               gaps in the production ranges and to avoid unnecessary processing costs for
               documents that are not required to be produced. These documents are easily
               identified and tracked on the privilege log by log number. The remaining one
               document was clawed back in August 2012. The original challenge to this
               document came after it had been clawed back. This document will continue to be
               withheld in full.

       •       The remaining 210 documents were redacted for privilege. Defendants agree to:

               o modify the header and/or date/time redactions on 74 of these documents;
               o modify the content redactions on 31 of these documents; and
               o downgrade 43 of these documents.

               The remaining 62 documents will continue to be redacted as originally produced,
               because the redaction decisions relating to these documents were proper and thus
               no adjustment is required.

6)     Privilege Claims Involving 3rd Parties

        Plaintiffs challenge the privilege claim of documents for which third parties are identified
on the privilege log. Third party names may appear in the To, From, CC and BCC sections of the
privilege log when in fact these parties are not in the part of communication withheld for
privilege. The privilege narrative describes the parties in the portion of the communication
withheld for privilege. Third party names may also appear in the To, From, CC and BCC
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sections of the privilege log where privilege is claimed based on context.

      For the five documents Plaintiffs provided as examples, Defendants agree to produce four
and modify the content redactions on one.

7)     List of Individuals Identified on Privilege Log

        Defendants agree to provide plaintiffs a list of individuals identified with an   on the
privilege log (i.e., privileged names). We will provide their name, title and employer, based on
available information.

8)     Other Privilege Challenges

       A)      FDA & AdvaMed Surgical Mesh WG Meetings
               Plaintiffs are challenging documents shared with or made in collaboration with
               AdvaMed, AMS, Bard and Boston Scientific regarding the meetings they had
               together and the documents they collaborated together to prepare. It is
               Defendants' position that these documents are properly withheld on the basis of
               joint defense and/or common interest privilege.

               Plaintiffs are also challenging documents that relate to meetings with the FDA,
               for which they provided one example. Upon re­review. Defendants agree to
               produce this document.

       B)      The FDA's Section 522 Order
               Plaintiffs are challenging documents regarding the FDA's 522 Order as business
               related. Defendant disagrees with that characterization as a general proposition.
               Where there is attorney involvement, those communications are privileged. I
               can't image that would be in dispute.

               Plaintiffs challenged two documents. The first. Exhibit C (PL09020,
               ETH.MESH.04925687­ETH.MESH.04925689), is challenged on two grounds:
               first that it is shared with the FDA, and second that its primary purpose is
               business­related and incorrectly withheld as privileged. Removal of the email
               header redactions, which Defendants agree to do, reveals that this email does not
               claim privilege over a communication with the FDA. Upon re­review. Defendants
               agree to modify the content redaction on this document.

               The second. Exhibit D (PL12139, ETH.MESH.05603815­
               ETH.MESH.05603821), is challenged for three reasons; first that entire emails
               have been redacted and the redactions are therefore overly broad, second that the
               communication is neither written to nor sent from any identified attorney, and
               third that the document not legal in nature.

              Defendants agree to remove the email headers, but this document (which was also
              challenged in section 5 above) will continue to be redacted as originally produced.
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                  because the redaction decisions relating to this document were proper and thus no
                  adjustment is required. Two Ethicon attorneys, Shane Freedman and Deidre
                  Meehan, appear in the To, From, CC and Privilege Narrative sections of the
                  privilege log entry.

         C)       Worldwide Discontinuation of GYNECARE Products
                  Plaintiffs are challenging documents regarding the worldwide discontinuation of
                  GYNECARE products as not having a primary purpose of seeking legal advice.
                  Again, it is Defendants' position that where there is attorney involvement, those
                  communications are privileged.

                  Plaintiffs provided one example. Exhibit F. Defendants agree to remove the email
                  headers, but this document will continue to be redacted as originally produced,
                  because the redaction decisions relating to this document were proper and thus no
                  adjustment is required. While this document originates from the British regulatory
                  authority, it is subsequently internalized. Ethicon attorney Dirk Brinckman
                  appears in the To, From and Privilege Narrative sections of the privilege log
                  entry.

        As discussed above, we are happy to continue to discuss and review in this manner
reasonable numbers of specifically­identified documents about which Plaintiffs have concerns
regarding privilege issues. To the extent we have agreed to modify any of the documents
challenged, it shall not be considered to be a waiver of any privilege assertion made or the
subject matter of any other privilege assertion. It also shall not be a waiver of Defendants'
position that we do not agree to conduct any whole­scale re­review of documents over which
privileges are claimed, or to re­process and alter the privilege log and redaction log entries as
they have been handled to date.

Very truly yours.



                                               Sincerely,

                                               BUTLER,   SNOW,            O'MARA,        STEVENS
                                               &C ANN ADA, PLLC



                                               /s/ Benjamin M. Watson
                                               Benjamin M. Watson

BMW:fsw



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